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 4   Attorneys for
     GAVRILO SPAICH
 5
 6                            IN THE UNITED STATES DISTRICT COURT
 7                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,           )                 No. CR. S-08-440 JAM
                                         )
 9                     Plaintiff,        )
                                         )                 STIPULATION TO CONTINUE THE
10                                       )                 DATE MOTIONS ARE DUE AND TO
           v.                            )                 EXCLUDE TIME UNDER
11                                       )                 SPEEDY TRIAL ACT
     GAVRILO SPAICH, et al.,             )
12                                       )
                       Defendants.       )
13   ____________________________________)
14          IT IS HEREBY STIPULATED AND AGREED between the defendants, Jeannie Spaich and
15   Gavrilo Spaich, by and through their defense counsel, Mark Reichel and Bruce Locke, and the
16   United States of America by and through its counsel, Assistant U.S. Attorney Steven Lapham, that
17   the defense shall file all motions by July 25, 2009; that the government shall file its oppositions by
18   August 15, 2009; and the defense shall file its replies by August 22, 2009 and any non-evidentiary
19   hearing on the motions shall be held on September 8, 2009 at 1:30 p.m. If an evidentiary hearing
20   is deemed necessary by any party, that party shall file a motion for the evidentiary hearing and the
21   Court shall determine at the September 8, 2009 hearing whether such a hearing is necessary.
22          The original date for the filing of motions was May 19, 2009. Due to the press of business,
23   counsel for Ms. Spaich could not file his motions by that date and the government orally agreed to
24   extend the time for the filing of motions on the condition that time be excluded. The reason for the
25   continuance for Mr. Spaich is that Bruce Locke, defense counsel for Mr. Spaich, was appointed to
26   represent Mr. Spaich in April of 2009 and Mr. Locke needs additional time to review the discovery
27   and to determine whether any motions are appropriate. The parties request the Court to exclude time
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29                                                     1
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 1   under the Speedy Trial Act from May 19, 2009 to July 25, 2009 to allow for defense preparation and
 2   because the ends of justice outweigh the interest of the public and the defendants in a speedy trial.
 3   18 U.S.C. §3161 (h) (I) (v) (8) and Local Code T4. Mr. Reichel and Mr. Lapham have authorized
 4   Mr. Locke to sign this document for them.
 5
 6
 7   DATED: June 24, 2009                              /S/ Bruce Locke
                                                   BRUCE LOCKE
 8                                                 Attorney for Gavrilo Spaich
 9
10
     DATED: June 24, 2009                          ____/S/ Bruce Locke____
11                                                 for MARK REICHEL
                                                   Attorney for Jeannie Spaich
12
13
     DATED: June 24, 2009                              /S/ Bruce Locke
14                                                 for STEVEN LAPHAM
                                                   Attorney for the United States
15
16
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            IT IS SO ORDERED.
19
20   DATED: 6/25/2009                                      /s/ John A. Mendez
                                                           JOHN A. MENDEZ.
21                                                         United States District Judge
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